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8                        UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
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11   T. Baxter Dunn,                        No. 2:02-cr-0468-MCE-CMK
12             Petitioner,
13        v.                                AMENDED ORDER
14   United States of America,
15             Respondent.
16                                ----oo0oo----
17        On April 5, 2012, the Court heard oral argument on
18   Petitioners T. Baxter Dunn’s and N. Allen Sawyer’s “Petition for
19   Clarifying Order Pursuant to this Court’s Previous Order Granting
20   Writ of Error Coram Nobis”    ECF Nos. 729 and 730.      In the
21   petitions, Dunn sought refund of the $40,000.00, AND Sawyer
22   sought a refund of $20,000 in fines paid after pleading guilty in
23   2005 to honest services mail fraud, in violation of 18 U.S.C. §§
24   1341 and 1346.    Those convictions were later vacated by this
25   Court, following the United States Supreme Court’s decision in
26   Skilling v. United States, 130 S. Ct. 2896 (2010).        In addition
27   to reimbursement for the fines paid, Dunn and Sawyer also sought
28   compounded annual interest on the fines.

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1         After considering the briefs and hearing the parties’
2    arguments, the Court orally held that Dunn was entitled to
3    reimbursement of the 40,000.00, and Sawyer was entitled to
4    $20,000, but neither Dunn nor Sawyer were entitled to interest on
5    those amounts.   This Order memorializes that decision.
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7         IT IS SO ORDERED.
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     Dated: April 26, 2012
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10                                    _____________________________
11                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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